    Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 1 of 15




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

  VIDEOSHARE, LLC                 §
                                  §
             Plaintiff,           §
     v.                           §    CIVIL ACTION No. 6:19-cv-00663-ADA
                                  §    JURY TRIAL DEMANDED
  GOOGLE LLC and YOUTUBE, LLC     §
                                  §
             Defendants.          §


DEFENDANTS’ MOTION TO EXCLUDE OPINIONS OF GREGORY J. GONSALVES,
    PH.D., J.D. UNDER DAUBERT AND FEDERAL RULE OF EVIDENCE 702
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 2 of 15


                                              TABLE OF CONTENTS

                                                                                                                               Page
I.     FACTUAL BACKGROUND ............................................................................................ 1
       A.        Dr. Gonsalves’s Opinions on Inequitable Conduct................................................ 1
       B.        Dr. Gonsalves’s Recitation of the Law of Inequitable Conduct ............................ 2
       C.        Dr. Gonsalves’s Improper Opinions on Whether VideoShare Intended to
                 Deceive the Patent Office ...................................................................................... 2
       D.        Dr. Gonsalves’s Improper Opinions on Whether the Examiner Would
                 Have Granted the ’341 Patent ................................................................................ 3
II.    LEGAL STANDARD ........................................................................................................ 3
III.   ARGUMENT ..................................................................................................................... 4
       A.        Dr. Gonsalves’ Recitation of Patent Law Cases (i.e., Ex. 1 ¶¶ 28-37)
                 Should Be Excluded ............................................................................................... 5
       B.        Dr. Gonsalves’s Conclusions Regarding Intent to Deceive (i.e., Ex. 1 ¶¶ 2,
                 38, 40, 44, 51, 55, 71) Are Improper and Should Be Excluded ............................. 5
       C.        Dr. Gonsalves’s Opinions on What the Patent Examiner Would Have
                 Done (i.e., Ex. 1 ¶¶ 2, 56, 61-64, 70-71) Are Speculative and Improper
                 Legal Conclusions .................................................................................................. 7
IV.    CONCLUSION .................................................................................................................. 9




                                                                -i-
            Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 3 of 15


                                                  TABLE OF AUTHORITIES

                                                                                                                                            Page
CASES
1st Media LLC v. Elec. Arts Inc.,
    694 F.3d 1367 (Fed. Cir. 2012)................................................................................................. 2
Abbott Biotechnology Ltd. v. Centocor Ortho Biotech, Inc.,
   No. 09-40089-FDS, 2014 U.S. Dist. LEXIS 175470 (D. Mass. Dec. 19, 2014) ...................... 7
Am. Calcar Inc. v. Am. Honda Motor Co.,
   768 F.3d 1185 (Fed. Cir. 2014)................................................................................................. 2
Apotex Inc. v. UCB Inc.,
   763 F.3d 1354 (Fed. Cir. 2014)................................................................................................. 2
Aventis Pharma S.A. v. Hospira Inc.,
   675 F.3d 1324 (Fed. Cir. 2012)................................................................................................. 2
Burleson v. Tex. Dep’t of Criminal Justice,
   393 F.3d 577 (5th Cir. 2004) ................................................................................................ 4, 9
Cordis Corp. v. Bos. Sci. Corp.,
   658 F.3d 1347 (Fed. Cir. 2011)................................................................................................. 2
Daubert v. Merrell Dow Pharms., Inc.,
   509 U.S. 579 (1993) .............................................................................................................. 3, 6
Energy Heating LLC v. Heat On-The-Fly LLC,
   889 F.3d 1291 (Fed. Cir. 2018)................................................................................................. 2
Everlight Elecs. Co. v. Nichia Corp.,
   719 F. App’x 1008 (Fed. Cir. 2018) ......................................................................................... 2
Flores v. Schwerman Trucking Co.,
   No. SA-09-CA-702-H, 2010 U.S. Dist. LEXIS 154172 (W.D. Tex. Aug. 12,
   2010) ......................................................................................................................................... 5
Gen. Elec. Co. v. Joiner,
   522 U.S. 136 (1997) .................................................................................................................. 4
In re Rosuvastatin Calcium Patent Litig.,
    703 F.3d 511 (Fed. Cir. 2012)................................................................................................... 2
In re Rosuvastatin Calcium Patent Litig.,
    No. 08-1949, 2009 U.S. Dist. LEXIS 117355 (D. Del. Dec. 11, 2009) ........................... 5, 6, 7
Intellect Wireless Inc. v. HTC Corp.,
    732 F.3d 1339 (Fed. Cir. 2013)................................................................................................. 2




                                                                       -ii-
            Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 4 of 15


                                                  TABLE OF AUTHORITIES
                                                        (continued)

                                                                                                                                           Page
Marlin v. Moody Nat’l Bank, N.A.,
  248 F. App’x 534 (5th Cir. 2007) ............................................................................................. 5
Meds. Co. v. Mylan Inc.,
  No. 11-cv-1285, 2014 U.S. Dist. LEXIS 52952 (N.D. Ill. Apr. 17, 2014) ........................... 7, 8
Network-1 Techs. v. Alcatel-Lucent USA, Inc.,
   No. 6:11-cv-492-RWS-KNM, 2017 U.S. Dist. LEXIS 154434 (E.D. Tex.
   Sept. 21, 2017) .......................................................................................................................... 4
Owen v. Kerr-McGee Corp.,
  698 F.2d 236 (5th Cir. 1983) ................................................................................................ 4, 7
Realtime Data, LLC v. Packeteer, Inc.,
   No. 6:08-CV-144, 2009 WL 4545087 (E.D. Tex. Nov. 19, 2009) ............................... 4, 5, 6, 7
Renfroe v. Parker,
   974 F.3d 594 (5th Cir. 2020) .................................................................................................... 4
Santarus Inc. v. Par Pharm. Inc.,
   694 F.3d 1344 (Fed. Cir. 2012)................................................................................................. 2
Smith v. City of Bastrop,
   No. 1:19-CV-1054-RP, 2021 U.S. Dist. LEXIS 8124 (W.D. Tex. Jan. 15,
   2021) ..................................................................................................................................... 4, 5
STATUTES
35 U.S.C. § 101 ............................................................................................................................... 1
OTHER AUTHORITIES
Manual of Patent Examining Procedure 2190 ................................................................................ 9
RULES
Fed. R. Evid. 702 ........................................................................................................................ 3, 6




                                                                      -iii-
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 5 of 15




       Defendants Google LLC and YouTube LLC (collectively, “Defendants”) move under

Daubert to exclude certain opinions of Gregory Gonsalves, Ph.D., Plaintiff’s expert on

inequitable conduct.

       Certain of Dr. Gonsalves’s statements, couched as expert testimony, consist of recitations

of the law of inequitable conduct, improper legal conclusions regarding inequitable conduct, and

speculation about underlying issues, such as the intent of the patentee or what the patent

Examiner would have done given different information. See Ex. 11 (Gonsalves Report) ¶¶ 2, 28-

37, 38, 40, 44, 51, 55-56, 61-64, 70-71. Dr. Gonsalves’s opinions both invade the province of

the Court—by providing legal conclusions—and usurp the role of the factfinder—by telling it

what result to reach, and should therefore be excluded.

I.     FACTUAL BACKGROUND

       A.      Dr. Gonsalves’s Opinions on Inequitable Conduct

       VideoShare, LLC (“VideoShare”) accuses Defendants of infringing asserted U.S. Patent

No. 10,362,341 (the “’341 patent”) by offering the ad-based YouTube video platform.

Defendants assert that VideoShare engaged in inequitable conduct during prosecution of the ’341

patent by failing to disclose orders from the District of Delaware and the Federal Circuit

(“Invalidity Orders”) invalidating under 35 U.S.C. § 101 two related patents, U.S. Patent

Nos. 8,464,302 (the “’302 patent”) and 8,438,608 (the “’608 patent”). Defendants’ expert

Nicholas Godici submitted an expert report on the rules, practices, and procedures related to the

examination of patent applications by the United States Patent and Trademark Office

(“USPTO”).

       In response to Mr. Godici’s report, Dr. Gonsalves submitted a rebuttal expert report.


1
 Ex. 1 refers to Exhibit 1 to the Declaration of Sorin G. Zaharia, submitted concurrently
herewith.


                                                -1-
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 6 of 15




Ex. 1. Dr. Gonsalves offers his opinions “that Defendants and their expert, Mr. Godici, have

failed to prove . . . inequitable conduct” and have “failed to provide clear and convincing

evidence sufficient to show intent to deceive the USPTO by either Mr. Liwerant or

Mr. Wieland.” Id. ¶ 2. Dr. Gonsalves does not offer opinions with respect to the USPTO’s

rules, practices, and procedures.

       B.      Dr. Gonsalves’s Recitation of the Law of Inequitable Conduct

       Dr. Gonsalves includes in his report a detailed discussion of a dozen Federal Circuit

decisions regarding inequitable conduct. Ex. 1 ¶¶ 28-37. Reading much like a legal brief, those

paragraphs summarize, based on Dr. Gonsalves’s review, the factual details and legal holdings of

the following cases: Cordis Corp. v. Bos. Sci. Corp., 658 F.3d 1347, 1351 (Fed. Cir. 2011) (id.

¶ 28); Am. Calcar Inc. v. Am. Honda Motor Co., 768 F.3d 1185 (Fed. Cir. 2014) (id. ¶ 29); In re

Rosuvastatin Calcium Patent Litig., 703 F.3d 511 (Fed. Cir. 2012) (id. ¶ 30); 1st Media LLC v.

Elec. Arts Inc., 694 F.3d 1367 (Fed. Cir. 2012) (id. ¶ 31); Aventis Pharma S.A. v. Hospira Inc.,

675 F.3d 1324 (Fed. Cir. 2012) (id. ¶ 32); Everlight Elecs. Co. v. Nichia Corp., 719 F. App’x

1008 (Fed. Cir. 2018) (id. ¶ 33); Santarus Inc. v. Par Pharm. Inc., 694 F.3d 1344 (Fed. Cir.

2012) (id. ¶ 34); Energy Heating LLC v. Heat On-The-Fly LLC, 889 F.3d 1291 (Fed. Cir. 2018)

(id. ¶ 35); Intellect Wireless Inc. v. HTC Corp., 732 F.3d 1339 (Fed. Cir. 2013) (id. ¶ 36); Apotex

Inc. v. UCB Inc., 763 F.3d 1354 (Fed. Cir. 2014). Id. ¶ 37.

       C.      Dr. Gonsalves’s Improper Opinions on Whether VideoShare Intended to
               Deceive the Patent Office

       In addition to his ultimate conclusion that “Defendants and their expert . . . have failed to

prove that inequitable conduct was committed” (Ex. 1 ¶ 2), Dr. Gonsalves also opines on the

state of mind of Mr. Liwerant, the first named inventor, and the prosecution counsel,

Mr. Wieland, regarding their disclosures to the USPTO (or lack thereof). For example,



                                                -2-
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 7 of 15




Dr. Gonsalves states that “patent prosecution counsel and Mr. Liwerant did not have any

intention to deceive the USPTO.” Id. ¶ 40. He also opines that VideoShare’s actions “are not

consistent with those of someone trying to conceal the order.” Id. ¶ 44. Finally, he asserts that

“Mr. Godici fails to explain how Mr. Liwerant could have possibly had an intent to deceive the

USPTO by not giving Mr. Wieland two documents that Mr. Wieland already had.” Id. ¶ 51.

       D.      Dr. Gonsalves’s Improper Opinions on Whether the Examiner Would Have
               Granted the ’341 Patent

       Dr. Gonsalves also provides speculation on what the Examiner would have done had the

inventor and prosecution counsel provided him with the Invalidity Orders. First, Dr. Gonsalves

offers his view that “the District Court Memorandum and Federal Circuit Order Are Not ‘But

For’ Material to the Patentability of the ’700 Application.” Ex. 1 at page 26. Second, he predicts

that “the Examiner would have allowed the claims of the ‘700 patent [sic] had these two

documents been disclosed to him.” Id. ¶ 56; see also id. ¶¶ 70, 71 (same). Third, Dr. Gonsalves

foretells, based on this Court’s denial of Defendants’ motion to dismiss under claim preclusion

(Dkt. 30), that “the Examiner’s decision would not have been different if the District Court

Memorandum and the Federal Circuit’s Order affirming the district court’s decision had been

filed at the USPTO.” Id. ¶ 63; see id. ¶¶ 61-62, 64.

II.    LEGAL STANDARD

       Daubert and Rule 702 of the Federal Rules of Evidence require courts to act as

“gatekeepers” to “ensure that any and all scientific testimony or evidence admitted is not only

relevant, but reliable.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993). A

court is not required to “admit opinion evidence that is connected to existing data only by the

ipse dixit of the expert,” and may “rightfully exclude expert testimony where a court finds that an

expert has extrapolated data, and there is ‘too great an analytical gap between the data and the



                                                -3-
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 8 of 15




opinion proffered.’” Burleson v. Tex. Dep’t of Criminal Justice, 393 F.3d 577, 587 (5th Cir.

2004) (quoting Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)).

       The law is clear that “[e]xperts cannot ‘render conclusions of law’ or provide opinions on

legal issues.” Renfroe v. Parker, 974 F.3d 594, 598 (5th Cir. 2020). As the Fifth Circuit has

long held, “allowing an expert to give his opinion on the legal conclusions to be drawn from the

evidence both invades the court’s province and is irrelevant.” Owen v. Kerr-McGee Corp., 698

F.2d 236, 240 (5th Cir. 1983); see also Smith v. City of Bastrop, No. 1:19-CV-1054-RP, 2021

U.S. Dist. LEXIS 8124, at *13 (W.D. Tex. Jan. 15, 2021) (“An expert witness is not allowed to

opine on legal conclusions that should be drawn from the evidence, which ‘both invades the

court’s province and is irrelevant.’”). An expert cannot provide legal opinions in either jury or

bench trials. Id. at *13-14.

       Based on these guiding principles, courts have held that experts “should be precluded

from presenting testimony as to the elements of inequitable conduct: materiality and intent to

deceive the Patent Office.” Realtime Data, LLC v. Packeteer, Inc., No. 6:08-CV-144, 2009 WL

4545087, at *2 (E.D. Tex. Nov. 19, 2009) (precluding expert from “opining as to the intent and

credibility of . . . the prosecuting attorney”). In excluding testimony on intent or state of mind in

the context of USPTO submissions, courts have found that such testimony “usurps the role of the

factfinder by telling it what result to reach.” Network-1 Techs. v. Alcatel-Lucent USA, Inc.,

No. 6:11-cv-492-RWS-KNM, 2017 U.S. Dist. LEXIS 154434, at *23 (E.D. Tex. Sept. 21, 2017)

(citing Realtime, 2009 WL 4545087, at *2).

III.   ARGUMENT

       Many of Dr. Gonsalves’s opinions should be excluded as improper legal opinions on the

ultimate legal issue of inequitable conduct and speculative pronouncements telling the factfinder

what result to reach regarding the intent of the patentee and the actions of the Examiner.


                                                 -4-
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 9 of 15




        A.      Dr. Gonsalves’ Recitation of Patent Law Cases (i.e., Ex. 1 ¶¶ 28-37) Should
                Be Excluded

        Through his lengthy recitation of his own summaries of a dozen Federal Circuit cases,

Dr. Gonsalves attempts either to teach the trier of fact or advise the Court how to interpret the

law on inequitable conduct. Either way, such testimony is improper, and Dr. Gonsalves’s case

law summaries—which go well beyond stating what legal standard he applied—should be

stricken. First, allowing Dr. Gonsalves to testify to the trier of fact about the law would invade

the province of the Court as the only one who instructs the factfinder on the law. See Flores v.

Schwerman Trucking Co., No. SA-09-CA-702-H, 2010 U.S. Dist. LEXIS 154172, at *2 (W.D.

Tex. Aug. 12, 2010) (“No witness, ‘expert’ or otherwise, is permitted to testify as to the

applicability or the interpretation of any statute or regulation . . . . Only the Court can instruct the

jury as to the meaning or the applicability of statutes and regulations.”). Second, to the extent

Dr. Gonsalves purports to advise the Court on the applicable law, his opinions are similarly

improper, because “[e]xperts may not advise the Court how the law should be interpreted or

applied to the facts in the case.” City of Bastrop, 2021 U.S. Dist. LEXIS 8124, at *14.

        Dr. Gonsalves’s recitation of Federal Circuit case summaries should be stricken.

        B.      Dr. Gonsalves’s Conclusions Regarding Intent to Deceive (i.e., Ex. 1 ¶¶ 2, 38,
                40, 44, 51, 55, 71) Are Improper and Should Be Excluded

        Dr. Gonsalves’s conclusions regarding intent improperly usurp the role of the factfinder

and should be excluded. “An expert’s credentials do not place him in a better position than the

jury to draw conclusions about a [party’s] state of mind.” Marlin v. Moody Nat’l Bank, N.A.,

248 F. App’x 534, 541 (5th Cir. 2007). Accordingly, “expert witnesses are not permitted to

testify regarding ‘intent, motive, or state of mind, or evidence by which such state of mind may

be inferred.” In re Rosuvastatin Calcium Patent Litig., No. 08-1949, 2009 U.S. Dist. LEXIS

117355, at *31 (D. Del. Dec. 11, 2009); see also Realtime, 2009 WL 4545087, at *2 (precluding


                                                  -5-
        Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 10 of 15




expert from “opining as to the intent and credibility of . . . the prosecuting attorney”).

        In Rosuvastatin, defendants moved to exclude under Daubert and FRE 702 the testimony

of two experts about the intent of the patentee’s employees regarding prior art disclosures to the

USPTO. 2009 U.S. Dist. LEXIS 117355, at *29-30, 35. One expert would have testified that an

employee “did not recognize any patentability defect” and that “she would have submitted to the

USPTO” a particular reference, had she not changed jobs. Id. at *29, 32-33. The other expert

would have testified as to an employee’s “knowledge and understanding” of withheld prior art

references. Id. at *35. The court excluded both experts’ proffered testimony, holding that the

“expert ‘opinions’ are really arguments, assumptions, and inferences as to the supposed state of

mind or intent of [patentee’s employees]” and “impermissible expert opinion as to the intent of

an individual accused of deceiving the PTO.” Id. at *31, 35-36.

        Similarly, in Realtime, the expert opined on whether a patent was unenforceable because

certain prior art references were not disclosed to the USPTO during patent prosecution.

Realtime, 2009 WL 4545087, at *1. The court held that the expert “should be precluded from

presenting testimony as to the elements of inequitable conduct: materiality and intent to deceive

the Patent Office.” Id. at *2. In particular, the court “precluded [the expert] from opining as to

the intent and credibility of . . . the prosecuting attorney.” Id.

        As with the excluded opinions in Rosuvastatin and Realtime, Dr. Gonsalves’s “expert

‘opinions’ are really arguments, assumptions, and inferences as to the . . . intent of [VideoShare’s

employees and prosecuting counsel].” Rosuvastatin, 2009 U.S. Dist. LEXIS 117355, at *31;

Realtime, 2009 WL 454087, at *1. Through his purported expert opinions, Dr. Gonsalves

improperly tells the factfinder what result to reach regarding the intent and state of mind of

named inventor Liwerant and VideoShare’s prosecution counsel Mr. Wieland. See Ex. 1 at page




                                                  -6-
       Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 11 of 15




16 (“Defendants and Mr. Godici Cannot Establish an Intent to Deceive by Clear and Convincing

Evidence”); id. ¶ 40 (“patent prosecution counsel and Mr. Liwerant did not have any intention to

deceive the USPTO”); ¶ 44 (opining that VideoShare’s actions “are not consistent with those of

someone trying to conceal the order”). These portions of Dr. Gonsalves’s expert report

“constitute[] impermissible expert opinion as to the intent of an individual accused of deceiving

the PTO” and should be stricken.” Rosuvastatin, 2009 U.S. Dist. LEXIS 117355, at *35-36;

Realtime, 2009 WL 454087, at *1.

       Dr. Gonsalves’s conclusions regarding intent should be stricken as impermissible expert

opinion.

       C.      Dr. Gonsalves’s Opinions on What the Patent Examiner Would Have Done
               (i.e., Ex. 1 ¶¶ 2, 56, 61-64, 70-71) Are Speculative and Improper Legal
               Conclusions

       Dr. Gonsalves’s speculation about what the Examiner would have done and conclusions

as to the ultimate legal issue of inequitable conduct constitute improper expert testimony and

should be excluded. The Fifth Circuit has long held that expert “opinion on the legal conclusions

to be drawn from the evidence both invades the court’s province and is irrelevant.” Owen, 698

F.2d at 240. Based on the same principles, courts in this and other districts have excluded expert

testimony, like that proffered by Dr. Gonsalves, about “what the Examiner would have done or

thought had she been given different information.” Meds. Co. v. Mylan Inc., No. 11-cv-1285,

2014 U.S. Dist. LEXIS 52952, at *14 (N.D. Ill. Apr. 17, 2014); see Abbott Biotechnology Ltd. v.

Centocor Ortho Biotech, Inc., No. 09-40089-FDS, 2014 U.S. Dist. LEXIS 175470, at *24 (D.

Mass. Dec. 19, 2014) (An expert “may not speculate as to what the examiner did or did not think,

or how different information would have impacted the examiner’s opinions or thoughts. Her

testimony must be limited to direct statements about the record, what it contains, and what it

does not contain.”); Realtime, 2009 WL 4545087, at *2 (precluding opinion on the materiality of


                                                -7-
       Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 12 of 15




undisclosed references and allowing expert to testify only on “aspects of an inequitable conduct

case for which he has personal knowledge—namely PTO policy, practice, and procedure.”).

       Much like in those cases, Dr. Gonsalves does not limit his opinions to “direct statements

about the record” or “PTO policy, practice, and procedure.” Instead, he offers improper legal

conclusions and speculations, including a conclusion as to the ultimate legal issue. Ex. 1 ¶ 2

(opining that “Defendants and their expert . . . have failed to prove that inequitable conduct was

committed”). Dr. Gonsalves repeatedly and improperly opines on what the Examiner would

have done if he had been provided the Invalidity Orders, which had been withheld by

VideoShare. Id. ¶ 56 (“the Examiner would have allowed the claims of the ’700 patent [sic] had

these two documents been disclosed to him”); id. ¶¶ 70, 71 (same). Dr. Gonsalves’s statements

are exactly the type of opinions the Mylan court excluded as “irrelevant speculation” on “what

the Examiner would have done or thought had she been given different information.” 2014 U.S.

Dist. LEXIS 52952, at *15.

       Not only does Dr. Gonsalves purport to read into the Examiner’s mind—he also foretells,

relying on this Court’s denial of Defendants’ motion to dismiss based on claim preclusion, that

“the Examiner’s decision would not have been different if the District Court Memorandum and

the Federal Circuit’s Order affirming the district court’s decision had been filed at the USPTO.”

Ex. 1 ¶ 63; see id. ¶¶ 61-62, 64. Dr. Gonsalves fails to adduce any evidence that the Examiner

would have applied the same standard to assessing patentability as this Court applied in deciding

Defendants’ motion on the issue of claim preclusion. Here, the Examiner did reject the claims of

the ’341 patent on double patenting grounds, finding the claims not patentably distinct from the

invalidated ’302 and ’608 patents. Dkt. 18-2 at 146-47. And the USPTO has its own procedures

for assessing patentability. For example, the MPEP instructs examiners to reject claims that are




                                                -8-
         Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 13 of 15




patentably indistinct from other claims that have been finally adjudicated as invalid. MPEP

21902 (“A patent owner or applicant may be precluded from seeking a claim that is not

patentably distinct from a claim that was finally refused or canceled during an administrative

trial or federal court proceeding under the doctrine of res judicata.”). The Court’s order on claim

preclusion does not support Dr. Gonsalves’s speculation regarding how the Examiner would

have decided patentability.

         Dr. Gonsalves’s extrapolation from this Court’s order to what the Examiner would have

done is “too great an analytical gap between the data and the opinion proffered,” Burleson, 393

F.3d at 587, and an additional reason why his opinions should be stricken.

IV.      CONCLUSION

         For the foregoing reasons, the Court should exclude Dr. Gonsalves’s opinions regarding

inequitable conduct and the underlying issues of intent and materiality, as invading the province

of the Court and usurping the role of the factfinder. Specifically, the following paragraphs of his

expert report should be stricken and he should be precluded from expressing any opinions based

thereon: ¶¶ 2, 28-37, 38, page 16 (heading), 40, 44, 51, page 26 (heading), ¶¶ 55-56, 61-64,

70-71.

Dated: August 25, 2021                             /s/ J. Mark Mann

                                                   J. Mark Mann
                                                   State Bar No. 12926150
                                                   mark@themannfirm.com
                                                   G. Blake Thompson
                                                   State Bar No. 24042033
                                                   blake@themannfirm.com
                                                   MANN | TINDEL | THOMPSON
                                                   201 E. Howard St.
                                                   Henderson, Texas 75654
                                                   (903) 657-8540
                                                   (903) 657-6003 (fax)

2
    https://www.uspto.gov/web/offices/pac/mpep/s2190.html.


                                                -9-
Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 14 of 15




                                 Luann L. Simmons (Pro Hac Vice)
                                 lsimmons@omm.com
                                 David S. Almeling (Pro Hac Vice)
                                 dalmeling@omm.com
                                 Bradley N. Garcia (Pro Hac Vice)
                                 bgarcia@omm.com
                                 Bill Trac (Pro Hac Vice)
                                 btrac@omm.com
                                 Amy K. Liang (Pro Hac Vice)
                                 aliang@omm.com
                                 Sorin G. Zaharia (Pro Hac Vice)
                                 szaharia@omm.com
                                 Daniel Silverman (Pro Hac Vice)
                                 dsilverman@omm.com
                                 O’MELVENY & MYERS LLP
                                 Two Embarcadero Center
                                 28th Floor
                                 San Francisco, CA 94111-3823
                                 Telephone: 415-984-8700
                                 Facsimile: 415-984-8701

                                 Attorneys for Defendants Google LLC and
                                 YouTube, LLC




                              -10-
       Case 6:19-cv-00663-ADA Document 111 Filed 08/31/21 Page 15 of 15




                              CERTIFICATE OF CONFERENCE

       On August 23, 2021, pursuant to Local Rule CV-7, counsel Bill Trac for Defendants met

and conferred with counsel William Ellerman and Halima Shukri Ndai for Plaintiff, and counsel

for Plaintiff indicated on August 23, 2021, that Plaintiff is opposed to the relief sought by this

Motion.

Dated: August 25, 2021                                  /s/ J. Mark Mann
                                                            J. Mark Mann




                                 CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on August 25, 2021, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.

                                                       /s/ J. Mark Mann
                                                         J. Mark Mann




                                                -11-
